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. IL .
    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
    ----------------------------------------x
    THE NEW YORK TIMES COMPANY,
                                                            17 Civ.   6178
                         Plaintiff,

         -against-
                                                      USDCSD1rY
    NEWSPAPER AND MAIL DELIVERERS'-PUBLISHERS'        D0.,1C•\.,p·•• F::'
                                                                     ' ,,,,.,1 TT
    PENSION FUND,                                     ELEcr o r1c AI,LY FIL '.~n
                         Defendant.
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    NEWSPAPER AND MAIL DELIVERERS'-PUBLISHERS'
    PENSION FUND AND THE BOARD OF TRUSTEES OF               17 Civ. 6290
    THE NEWSPAPER AND MAIL DELIVERERS'-
    PUBLISHERS' PENSION FUND,                               OPINION and
                                                            ORDER
                         Plaintiffs,

         -against-

    THE NEW YORK TIMES COMPANY,

                         Defendant.
    -----------------------------------------x

   APPEARANCES:

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. - ~-
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Sweet, D.J.




       In these consolidated actions, The New York Times Company

(the "Times") and the Newspaper and Mail Deliverers'-Publishers'

Pension Fund and Board of Trustees of the Newspaper and Mail

Deliverers'-Publishers' Pension Fund (together, the "Fund") have

cross-moved for summary judgment under Federal Rule of Civil

Procedure 56 on their respective requests to modify or vacate

the arbitration award (the "Award") issued by assigned

arbitrator Mark L. Irvings     (the "Arbitrator") in American

Arbitration Association ("AAA") Case No. 01-14-1433 on July 19,

2 017, pursuant to the Employee Retirement Income Security Act of

1974   ("ERISA"), 29 U.S.C. § 1001, et seq., as amended by the

Multiemployer Pension Plan Amendment Act of 1980 ("MPPAA"), 29

U.S.C. § 1381, et seq.




       The dispute arises out of a carefully-negotiated

multiemployer collective bargaining agreement        ("CBA") that

governs certain aspects of the Newspaper and Mail Deliverers'-

Publishers' Pension Fund applicable to many newspapers in New

Yo rk Cit y . The instant motions present a veritable Augean

Stables of issues to be resolved, a cavalcade of sharp disputes

that have been distilled down by the parties and their skilled
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counsel to four principal issues. Put simply, these issues are:

(1) whether the Times incurred liability by partially

withdrawing from the Fund for plan years ending May 31, 2012,

and May 31, 2013;   (2) whether the discount rate used by the Fund

when assessing the Times' withdrawal liability was appropriate;

(3) whether the Fund applied the proper statutory procedure to

calculate liability for the second partial withdrawal; and (4)

whether and to what extent the Times is entitled to interest on

the repayment of overpaid withdrawal liability.




     Based on the conclusions set forth below, the motions are

determined as follows.   First, the Times incurred withdrawal

liability, and the Arbitrator's finding that the CBA's

contribution base unit under 29 U.S.C.     §   1301(a) (11)   ("CBU") was

shifts has not been rebutted. Second, the Fund's use of the

Segal Blend rate when assessing the Times' withdrawal liability

was, in this instance, improper, and the Arbitrator's finding to

the contrary is reversed. Third, the Fund's calculation of the

Times' second partial liability was improper. Lastly, the

Arbitrator correctly determined that the Times was entitled to

interest on overpaid withdrawal liability, and his conclusion as

to the applicable interest rate has not been rebutted.



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I. Statutory Background and Facts



     a. Statutory Background



     Before delving into the facts, a brief overview of ERISA's

statutory framework is appropriate.



     "ERISA is a comprehensive statutory scheme regulating

employee retirement plans." Trs. of Local 138 Pension Tr. Fund

v. F.W. Honerkamp Co. Inc., 692 F.3d 127, 128 (2d Cir. 2012)

(citing 29 U.S.C. § 1001, et seq.). Part of ERISA's purpose is

"to ensure that employees and their beneficiaries would not be

deprived of anticipated retirement benefits by the termination

of pension plans before sufficient funds have been accumulated

in the plans." Connolly v. Pension Benefit Guar. Corp.,         475 U.S.

211, 214   (1986)   (internal quotation marks omitted). CBAs create

employer retirement plans and employer obligations to contribute

to such plans. See 29 U.S.C. §§ 1002(37) (A), 1392(a). In

addition, Congress created the Pension Benefit Guaranty

Corporation ("PBGC"), "a wholly owned Government corporation, to

administer an insurance program for participants in both single-

employer and multiemployer pension plans." Id.      (citation

omitted); see 29 U.S.C. § 1306.


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     Multiemployer pension plans, like the one at issue here ,

are where "multiple employers pool contributions into a single

fund that pays benefits to covered retirees who spent a certain

amount of time working for one or more of the contributing

emp l oyers." Trs. of Local 138 Pension Tr. Fund,       692 F.3d at 129.

Such plans are useful in "certain unionized industries" where

companies often go "into and out of business, and .

employees transfer[ ] among employers." Id. Looking to such

plans, Congress passed the MPPAA to amend ERISA and "adequately

protect plans from the adverse consequences that resulted when

individual employers terminate their participation in, or

withdraw from, multiemployer plans." Pension Benefit Guar. Corp.

v . R.A. Gray   &   Co ., 467 U.S. 717, 722   (1984).



     The MPPAA implemented "new rules under which a withdrawing

employer would be required to pay whatever share of the plan's

unfunded vested liabilities was attributable to that employer's

participation." Pension Benefit Guar. Corp., 467 U.S. at 723

(citation omitted) . "This withdrawal liability is the employer's

proportionate share of the plan's 'unfunded vested benefits,'

calculated as the difference between the present value of vested

benefits and the current value of the plan's assets." Id. at 725


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    (quoting 29 U.S.C. §§ 1381, 1391). "[C]omplete withdrawal from a

plan occurs when an employer (1) permanently ceases to have an

obligation to contribute to a plan arising (a) under one or more

collective bargaining or related agreements or (b) as a result

of a duty under applicable labor-management relations law; or

(2) permanently ceases all covered operations under a plan.

Withdrawal liability may also be imposed for partial

withdrawals." ILGWU Nat'l Ret. Fund v. Levy Bros. Frocks, 846

F.2d 879, 881       (2d Cir. 1988)   (citing 29 U.S.C. §§ 1381, 1383,

1385, 1392). The MPPAA defines a "partial withdrawal" if, in any

plan year, there is a "70 percent contribution decline." 29

U.S.C. § 1385(a) (1) . 1 Employers pay withdrawal liability in



1    ERISA Section 4205 defines a partial withdrawal, more
fully, as follows:
        (a)   Except as otherwise provided in this section, there is
              a partial withdrawal by an employer from a plan on the
              last day of a plan year if for such plan year -
              (1)   there is a 70-percent contribution decline, or .


        (b)   For purposes of subsection (a) of this section -
              ( 1) (A) There is a 7 • -percent contribution decline for
              any plan year if during each plan year in the 3-year
              testing period the employer's contribution base units
              do not exceed 30 percent of the employer's
              contribution base units for the high base year.
29 U.S.C. § 1385. A "3-year testing period" is "the period
consisting of the plan year and the immediately preceding 2 plan
years." Id.§ 1385(b)(l)(B)(i). An employer's "contribution base
units for the high base year is the average number of such units
for the 2 plan years for which the employer's contribution base
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annual installments, calculated based on an employer's

historical contribution amount . See 29 U. S.C. §§ 139l(c),

1399 (c).



       Congress later authorized the PBGC to promu l gate

regulations to "provide for proper adjustments .                . so that the

liability for any complete or partial withdrawal in any

subsequent year .        . properly reflects the employer's share of

liability with respect to the plan . " 29 U. S.C . § 1386(b) (2). The

PBGC obliged , creating a credit applicab l e to subsequent

withdrawal liability based on payments already made,              such that

the "credit phases out over time , thereby roughly capturing the

change in the composition of the liability pool and allocating

withdrawal liability accordingly." Cent . States, Se . & Sw. Areas

Pension Fund v . Safeway ,    Inc., 229 F.3d 605,       612   (7th Cir . 2000)

(citing 29 C . F.R. § 4206.1 , et seq.); see also 26 C . F.R.

§   4206.1 (a)   ("The purpose of the       [statutory] credit is to

protect a withdrawing employer from being charged twice for the

same unfunded vested benefits.").




units were the highest within the 5 plan years immediately
preceding the beginning of the 3-year testing period . " Id .
§ 1385(b) (1) (B) (ii) . A "contribution base unit" as "a unit with
respect to which an employer has an obligation to contribute
under a multiemployer plan . " Id . § 1301 (a) (11).
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     After an employer withdraws from a plan, the plan sponsor

is vested with the authority to determine the amount of

withdrawal liability. See 29 U.S.C. §§ 1382, 1391. The plan

sponsor then informs the withdrawing employer of the liability,

sets a payment schedule, and demands payment. Id. §§ 1382(2),

1399(b) (1). Within 90 days of receiving the notice, the employer

may request a review of the sponsor's determination of liability

or the payment schedule. Id.         §   1399 (b) (2) (A). Either side may

thereafter initiate arbitration proceedings within 60 days of

the earlier of:   (1) the date on which the employer was notified

of the sponsor's withdrawal liability determination and demand

for payment, or (2) 1 2 0 days after the date of the employer's

request for review. Id. § 1401(a) (1). If the employer fails to

request arbitration within the statutory time periods, the

amount of withdrawal liability assessed by the plan sponsor in

the notice becomes "due and owing." Id. § 1401(b). Regardless of

whether an employer requests review or initiates an arbitration,

the employer needs to pay the assessed withdrawal liability

payments in accordance with the payment schedule set forth in

the notice. Id.   §   1399(c) (2).



     Arbitral decisions over ERISA disputes are subject to

judicial review by federal courts. 29 U.S.C.            §   1401 (b) (2).


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     b. The CBA and its Provisions



     The following facts are drawn from the parties'

declarations, attached exhibits, and Rule 56.1 Statements

submitted in connection with the instant cross-motions for

summary judgment. See Fund's 56.1 Statement ("Fund's 56.1"), No.

17 Civ. 6178, Dkt. No. 26; the Times' 56.1 Statement ("Times'

56.1"), Dkt. No. 20; the Fund's Rule 56.1 Response ("Fund's 56.1

Response"), Dkt. No. 27; the Times' Rule 56.1 Response        ("Times'

56.1 Response"), Dkt. No. 29; the Times' Rule 56.1 Reply

("Times' 56.1 Reply"), Dkt. No. 29; Declaration of Jacob M. Roth

dated September 15, 2017   ("Roth Deel."), Dkt. No. 19;

Declaration of Max Garfield dated October 20, 2017       ("Garfield

Deel."), Dkt. No. 28. Unless otherwise noted, the facts are

undisputed.



     In 1981, the Newspaper and Mail Deliverers' Union of New

York and Vicinity (the "NMDU") and the Times entered into a CBA.

See Garfield Deel. Ex. 4 (the CBA). Of relevance here, the CBA

contained provisions that required the Times to make

contributions to the Fund, a multiemployer pension plan. While

amended over the years, the CBA's provisions concerning pension




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contributions have remained the same and operative from then to

the instant dispute . 2



     Section 13-I of the CBA, which describes the Times'

contribution requirements to Fund, provides,       in relevant part:

     The [Times] agrees it shall contribute 8 % of each
     employee's pay rate per shift for each shift worked by
     each employee in the bargaining unit to the [Fund],
     but not in excess of five ( 5) shifts in any payroll
     week in any one office for any one employee.        In
     addition contributions shall be made when an employee
     becomes eligible for worker's compensation benefits.
     Such payments shall be retroactive to the first day of
     absence.

CBA § 13-I.1. In addition to shifts worked , Section 13-K.3

required that the Times make contributions for "days of paid

leave":

     Days of paid leave taken or not taken but paid for
     during the year or lea ve accumulated when taken or
     paid for under this Section shall be included in the
     schedule of days worked for which vacations and days
     of paid leave are allowed and for which welfare and
     pension contributions are made.

CBA § 13-K.3. Section 13-K.5 further provided that: "Time spent

on duty with the National Guard or on Reserve Duty , shall be

included in the days worked for which paid leave is allowed,         to

a maximum of two   (2) weeks. " CBA § 13-K.5.


2     For example, over the years, the NMDO and the Times have
agreed to adjust the amounts that employees are paid. Fund's
56 .1 ~ 12. These changes are not relevant to the issues
presented here.

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       Section 5 of the CBA details "Shifts and Regular Working

Time." Under the CBA, a "day shift" is "[a] regular day's work"

that consists of "7 hours and 54 minutes or less consecutively

between the period of 7:00 a.m. to 8:00 p.m." and a "night

shift" as either "a result night's work" consistent of "seven

(7) or fewer consecutive hours of work on short nights and eight

(8) or fewer consecutive hours of work on one long night between

the period of 6:00 p.m. and 10:00 a.m." or "seven and one-half

(7 1/2) or fewer consecutive hours of work when the period shall

begin at 4:00 p.m." on Saturday. CBA          §§   5-A, 5-B. Each type of

shift had a different applicable wage rate, depending on whether

the shift was "hourly," "daily," weekly," or "overtime." CBA

§   13-A.



       Under the CBA, employees working in particular positions

are entitled to extra pay. For example, participating employees

who drive a tractor-trailer receive an extra $2.25 for every

shift, CBA § 2-E.2(j), and who operate a forklift receive an

extra $0.25 per shift, CBA § 3-Q.




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     The CBA also included provisions that required the Times to

contribute to the Publishers'-Newspaper and Mail Deliverers'

Welfare Fund (the "Welfare Fund") . 3 Section 13-H.1 required that:

     The [Times] agrees that it shall contribute 6 1/2% of
     each employee's rate per shift for each shift worked
     by each employee      in the bargaining unit    to   the
     [Welfare Fund], but not in excess of five ( 5) shifts
     in any payroll week in any one off ice for any one
     employee.   In   addition    to   the  above percentage
     contribution, for each shift worked by each employee
     who is not a regular situation holder              there
     shall be an additional contribution to the [Welfare
     Fund] of $6.00 per shift, but not in excess of five
     ( 5) shifts in any one payroll week in any one off ice
     for any one employee,      in the first year of this
     Agreement.   In   the   second    year  such additional
     contribution shall be increased to $7.00; in the third
     year, to $8.00. In addition contributions shall be
     made when an employee becomes eligible for worker's
     compensation    benefits.    Such   payments shall    be
     retroactive to the first day of absence.

CBA § 13-H.1. In subsequent years, the Welfare Fund was amended.

For example,    in 1987, the parties agreed that "an additional

$3.76 per shift from wages and after taxes      (maximum of five

shifts) shall be contributed to the Welfare Fund." Garfield

Deel. Ex.   6 § 2(a). In 1992, the parties agreed to a provision

that allowed reapportionment between the two funds:

     With respect to wage increases effect March 31, 19 93
     and thereafter, the Union may elect to reapportion the
     contributions  due  on  those  increases  between  its
     pension plan and its health and welfare plan the total

3    ERISA    defines an "obligation to contribute" as on arising
"(1) under    one or more collective bargaining (or related)
agreements,    or (2) as a result of a duty under applicable labor-
management    relations law." 29 U.S.C. § 1392(a).

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        (8 %) and health and welfare (7.68 %) plan contributions
       made by the Times,      provided that:     (i)  the total
       contribution made by The Times to all plans does not
       exceed 15. 68 %; (ii) the Union notifies The Times at
       least ninety ( 90) days in advance of its intent to
       reapportion     the   contributions;    and    (iii)  the
       reapportionment shall not, in any event, result in a
       contribution to the pension fund of less then [ sic]
       the amount necessary to meet any minimum contribution
       requirements established by law.

Garfield Deel. Ex. 7 § 8(0).



       c. The Assessed Partial Withdrawals



       In 2008, the Times closed its wholly-owned distribution

business, City and Suburban Delivery Systems               ("C&Su). Times'

56.1   ~   8; Fund's 56.1   ~       93. Under a separate CBA with nearly

identical language to the Fund's CBA, the Times also contributed

to the Fund for C&S employees. Fund's 56.1            ~~       94-96. While

initially planning to lay off C&S employees and pay the

anticipated withdrawal liability, after negotiating with the

NMDU, the Times decided to retain approximately 65 C&S

employees. Times' 56.1          ~   10; Fund~ 98. The hired C&S employees

were paid at the Times' wage rate, which was higher than the

previously paid C&S rate of pay. Fund's 56.1               ~   104.



       On September 13, 2013, however, the Fund informed the Times

that the Fund had assessed the Times as having partially

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withdrawn from the Fund during the plan years ending May 31,

2012 , and May 31, 2013 , incurring $25.7 million in withdrawal

liability. Times' 56.1     ~   11. The Fund made its assessment by

calculating a 70 % decline in CBUs, with shifts worked by

employees as the applicable CBU. Fund's 56.1          ~   35 . The Times had

viewed the applicable CBU under the CBA as wages. Fund's 56.1

~   36. During the Fund plan years at issue, neither the dollar

amounts of non-overtime pay the Times paid to covered employees

nor total contributions to the Fund declined to the level that

would constitute a partial withdrawal under ERISA. Times' 56.1

~   1 2 . It is undisputed that, if the opposing side's claims as to

the applicable CBU is correct, that side's mathematical

assessment with regard to whether the Times incurred partial

liability withdrawal is also correct.



      The Fund's actuary, Rosana Egan ("Egan") of The Segal

Company ("Segal") assessed the Times' withdrawal liability for

both plan years ending May 31, 2012 , and May 31, 2013, and used

shifts as the applicable CBU. Fund's 56.1        ~~   37 , 43-44. In

calculating the Times' withdrawal liability, Egan used the

"Segal Blend," which combined lower market interest rates

published by the PBGC and the plan's generally used minimum

funding investment return interest rate, 7.5 %, to calculate the


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Fund's unfunded vested benefits. For all other purposes other

than withdrawal liability, Egan used a minimum funding

investment return assumption of 7.5 %.          Fund's 56.1     ~    39. Fund's

56.1   ~    38; Times' 56.1   ~   18. Using the Segal Blend, Egan

calculated the Times' partial withdrawal liability for the plan

year ending May 31, 2012, to be $25,706,371 (the "First

Assessment"), and for the plan year ending May 31, 2013, to be

$7,849,772       (the "Second Assessment") . 4 Fund's 56.1      ~~   37, 43;

Times' 56.1      ~   11.



       The Second Assessment, which covered the Times' partial

withdrawal liability for the plan ending May 31, 2013, was

calculated using the following procedure: first,            Egan subtracted

the statutory credit provided by 29 U.S.C. § 1386(b) from the

Times' allocable share of the Fund's unfunded vested benefits

("UVBs") calculated under 29 U.S.C. § 1386(a) (1) and, second,

multiplied that difference by the partial withdrawal fraction

described by 29 U.S.C. § 1386(a) (2). Times' 56.1           ~   26; see

Garfield Deel. Ex. 19, at 27.




4    The Fund initially calculated the 2013 partial withdrawal
liability as $0, but revised its calculations in December 2014
following receipt of final figures. See Interim Op. 27.
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     d. The Arbitrator's Interim Opinion



     In April 2014, the Times initiated arbitration proceedings

pursuant to 29 U.S.C. § 1401(a) (1). Before the Arbitrator, the

Times disputed the Fund's determination that a partial

withdrawal had occurred, the Fund's computation of the

liability, and the Fund's calculation of the Second Assessment.

See Roth Deel. Ex. A ("Interim Op."), at 1-2.



     The Arbitrator conducted six days of hearing between

February 10, 2015 and October 7, 2015, which included admitted

exhibits and testimony. The Arbitrator heard testimony from:

Egan, who served as the Fund's enrolled actuary from the mid-

1990s until 2015; John Urbank ("Urbank"), the Fund's benefits

consultant and client relationship manager from around 1995

through 2015; Mitchell Lewis    ("Lewis"), the Fund's auditor at

WeiserMazars LLP from 1997 through 2013; Morris Claffee

("Claffee"), the Times' senior payroll manager responsible for

submitting contributions for Times employees covered by the

NMDU's CBA to the Fund; Terry Hayes     ("Hayes"), the Times'

Director of Labor Relations and a Fund Trustee; Neal Schelberg

("Schelberg"), a Proskauer Rose partner in employee benefits who

served as co-counsel for the Fund; Darren French ("French"), the


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Times' actuarial e x pert; and Ethan Emanuel Kra ("Kra"), the

Fund's actuarial expert. See generally Garfield Deel. Ex. 3

("Arbitration Transcript"). The parties submitted post-hearing

briefing by February 20, 2016. Interim Op. 1.



     On June 14, 2016, the Arbitrator issued an Interim Opinion

that summarized the evidence received and made certain factual

findings.   Interim Op. 1. First, the Arbitrator found that

"shifts" were the applicable CBU for the Times' contribution to

the Fund "when viewed as a contextual whole," which included

reviewing different provisions' language in the CBA and the

longtime understanding and actions of the parties involved with

the Fund. See id. at 63. As such, the Arbitrator concluded that

the Times had incurred the assessed partial withdrawal

liability. See id. The Arbitrator also upheld the Fund's use of

the Segal Blend, noting that it was "settled law" that "the

Segal Blend is consistent with the requirements of§ 4312(a) ."

See id. at 54-59. With regard to the Second Assessment, however,

the Arbitrator found that the Fund had improperly calculated the

amount of credit to which the Times was owed, terming the Fund's

assessment of partial withdrawal liability for the May 2 013 plan

"convoluted" and, accordingly, reduced the partial withdrawal

liability for the plan year ending May 31, 2013, from $7,849,772


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to $375,100. See id. at 59-63. Lastly, the Arbitrator ordered

that the Fund repay the Times the amount the Times overpaid the

Fund, including "appropriate interest." Id. at 63.



     e. The Arbitrator's Opinions on Interest



     Following the Interim Opinion, the Times and the Fund

disagreed as to the appropriate interest rate to be applied to

the Fund's overpayment repayments. Back before the Arbitrator,

the Times argued that an 18 % interest rate was applicable

because that was the rate the Times had been asked by the Fund

to apply when the Times once made a late contribution payment.

See Roth Deel. Ex. H ("Interim Interest Op."), at 5-8. The Fund

argued that the 18 % rate had not been formally adopted for

withdrawal liability and, therefore, the interest rate set by

the PBGC was applicable. See id. at 8-9.



     On December 24, 2016, the Arbitrator issued an interim

ruling and found that, while the Fund had not formally

established an applicable rate, discovery was necessary to

determine if the Fund had a "policy and practice regarding the

imposition of interest for delinquent withdrawal liability




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payments, and the inclusion of interest on refunds of

overpayments of withdrawal liability." Id. at 12-13.



        On July 12, 2017, following discovery and the submission of

briefing, the Arbitrator issued a Final Ruling on Interest. See

Roth Deel. Ex. J         ("Final Interest Op."). There, the Arbitrator

rejected the Times' request for 18% interest, noting that there

was only a single instance when the Fund imposed an 18 % rate on

a late withdrawal liability payment, which did not "establish

that the Board [of the Fund] even adopted a uniform policy" of

charging such an interest or that it was "charged on a

consistent basis over a reasonable period of time." Id. at 18-

21. Accordingly, the Arbitrator affirmed the Fund's use of the

then-applicable PBGC interest rate, which was 3.25 %. Id. at 21.



        f. The Arbitrator's Final Award



        On July 19, 2017, the Arbitrator issued the Award and

stated that all issues involved in the arbitration were fully

resolved. See Roth Deel. Ex. J. Following the Arbitrator's

rulings, the Fund refunded the Times the overpayment of

principal along with interest calculated pursuant to 29 C.F.R.

§   4 219. 32 ( c) . Fund's 5 6. 1 ':II 114.


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II. Prior Proceedings



     On August 15, 2017 , the Times filed an action to vacate the

Award in part. No. 17 Civ . 6178    (RWS), 0kt. No. 1. On August 18,

2017 , the Fund also filed an action to vacate the Award in part.

No. 17 Civ. 6290 (RWS), 0kt. No. 1. On September 11, 2017, the

two actions were consolidated. No. 17 Civ. 6178       (RWS), 0kt. No.

17; No. 17 Civ. 6290 (RWS), 0kt. No. 17.



     On September 15, 2017, the Times moved for summary

judgment, and the Fund cross -moved for the same on October 20,

2017 . No. 17 Civ . 6178 (RWS) , 0kt. Nos. 18, 24 ; No. 17 Civ. 6290

(RWS), 0kt. No. 23. The motions were heard and marked fully

submitted on December 6 , 2017.



III. Applicable Standards



     a. Summary Judgment



     Summary judgment is appropriate only where "there is no

genuine issue as t o any material fact and            the moving party

is entitled to a judgment as a matter of law."        Fed. R. Civ. P.


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56(c). A dispute is "genuine" if "the evidence is such that a

reasonable jury could return a verdict for the nonmoving party."

Anderson v. Liberty Lobby , Inc., 477 U.S. 242 , 248        (1986). The

relevant inquiry on application for summary judgment is " whether

the evidence presents a sufficient disagreement to require

submission to a jury or whether it is so one -sided that one

party must prevail as a matter of law . "      Id. at 251 -5 2 . A court

is not charged with weighing the evidence and determining its

truth, but with determining whether there is a genuine issue for

trial . Westinghouse Elec. Corp. v. N. Y.C. Transit Auth., 735 F.

Supp. 1205, 1212 (S .D.N.Y. 1 990)     (quoting Anderson,   477 U.S. at

249) . "[T]he mere existence of some alleged factual dispute

between the parties will not defeat an otherwise properly

supported motion for summary judgment; the requirement is that

there be no genuine issue of material fact." Anderson,         477 U.S.

at 247-48   (emphasis in original).



     b. Standards of Review of ERISA Arbitration Decisions



     Under ERISA, courts reviewing decisions of an arbitrator

apply different standards to questions of law and to questions

of fact. When reviewing an arbitrator's legal conclusions apply

courts apply a de nova standard of review. 666 Drug,         Inc. v. Tr.


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of 1199 SEIU Health Care Emps. Pension Fund, 571 F. App'x 51, 52

(2d Cir. 2014); HOP Energy, L.L.C. v. Local 553 Pension Fund,

678 F.3d 158, 160 (2d Cir. 2012). When reviewing an arbitrator's

factual findings, "there shall be a presumption, rebuttable only

by a clear preponderance of the evidence, that the findings of

fact made by the arbitrator were correct." Nat'l Ret. Fund v.

Metz Culinary Mgmt., Inc., No. 16 Civ. 2408       (VEC), 2017 WL

1157156, at *5 (S.D.N.Y. Mar. 27, 2017)      (quoting 29 U.S.C.

§ 140l(c)). For mixed questions of law and fact, in the absence

of controlling Second Circuit precedent, courts generally adopt

a clear error standard of review. See 666 Drug, Inc. v. Tr. of

1199 SEIU Health Care Emps. Pension Fund, No. 12 Civ. 1 251

(PAE), 2013 WL 4042614, at *5 (S.D .N. Y. Aug. 8, 2013)

(collecting cases), aff'd, 571 F. App'x 51 (2d Cir. 2014) .



IV. The Parties' Motions for Summary Judgment are Granted in Part and
Denied in Part


     a. The Arbitrator 's Decision that the Times Partially
        Withdrew from the Fund is Affirmed


     The first issue presented is what constitutes the CBUs

under the CBA . That answer-whether it is "shifts," the Fund's

answer, or "wages," the Times' answer-is the fulcrum around

which whether the Times partially withdrew from the Fund turns.


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As described above, the Arbitrator concluded that the answer was

"shifts." Interim Op. 33 .



      The Times argues that the Arbitrator 's conclusion was

"legally flawed." Times' Mem . in Supp. of Mot. for Summ . J.

("Times' Mem.")   18, No . 17 Civ. 6178,   Dkt. No. 20.       To the

Times, the question presented is one purely of law: how to apply

ERISA's definition of a "contribution base unit," the "unit with

respect to which an employer has an obligation to contribute,"

to the obligations created by the CBA .       29 U.S.C.   §   1301(a)(ll);

see Times' Mem. 18 . Principally, the Times points to parts of

the CBA that require the Times to contribute for instances when

employees do not actually work , such as various leaves of

absence, and evidence presented to the Arbitrator that certain

categories of employees, like foremen,      received compensation not

based on shifts to demonstrate that the "substance and reality"

of the Times' pension obligations to the Fund. Times Mem. 18-19.

Finally, the Times avers that, as a purely legal question,             it is

improper to consider the subjective understanding of and actions

based on the CBU by those at the Fund and at the Times. Times

Mem. 20 .




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     In response, the Fund presents two arguments. First, the

Fund contends that the CBA's language alone is what determines

the Times' contribution obligations, and the CBA's terms

unambiguously required that contributions be made "per shift for

each shift worked" by covered employees. Fund's Mem. of Law in

Supp. of Cross-Mot. for Summ. J.        ("Fund's Mem.")   18   (quoting CBA

§ 13-I.l), No. 17 Civ. 6178, 0kt. No. 25. The Fund supports this

reading by pointing to other CBA provisions that define "day"

and "night" shifts, as well as others which cap the Times'

contributions to the Fund at five shifts in any given payroll

week. See Fund's Mem. 19. As a secondary argument, the Fund

contends that, given the Administrator considered extrinsic

evidence in making his determination, his interpretation of the

CBA is a factual finding entitled to a higher degree of

deference. See Fund's Mem. 22-24.



     Initially, it needs to be determined which standard of

review is appropriate when reviewing the Arbitrator's finding of

shifts as the CBU. The Interim Opinion does not afford a cut-

and-dry answer.



     The Arbitrator examined the language of the CBA and found

that adopting the Times' reading would render the provision


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"'for each shift worked' wholly superfluous,~ Interim Op. 33,

which is the kind of language courts generally employ when

construing a contract's "plain meaning." LaSalle Bank Nat'l

Ass'n v. Nomura Asset Capital Corp., 424 F.3d 195, 206 (2d Cir.

2005)    (citations omitted)    (" [A] n interpretation of a contract

that has 'the effect of rendering at least one clause

superfluous or meaningless .          . is not preferred and will be

avoided if possible."). Were this the exclusive, or even primary

basis upon which the Arbitrator's decision rested,          de nova

review of this legal determination would be appropriate.



        However, the Arbitrator's opening observation was that the

CBA was "not without some ambiguity," Interim Op. 33, a comment

repeated several other times, see id. at 33-34. Following a

brief discussion of surplusage-itself a canon of construction

used to resolve ambiguity-the Arbitrator dedicated the majority

of his analysis to resolving "[w]hatever ambiguity in the

provision exists [that] derives from the phrase 'shift worked.'"

Interim Op. 33. In doing so, the Arbitrator considered other

provisions of the CBA, see id. 33-36, and witness testimony,

relying especially on evidence from the Fund's enrolled actuary

and auditor, which the Arbitrator found truthful, see id. 36-38.

Taken in its entirety, the CBU decision in the Interim Opinion


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is properly read as finding the CBA ambiguous and t h en resolving

that unspecified amount of ambiguity in the CBA through

consideration of intrinsic and extrinsic evidence.



     "When courts interpret CBAs, traditional rules of contract

interpretation apply as long as they are consistent with federal

labor policies . " Aeronautica l Indus . Dist . Lodge 91 of Int ' l

Ass ' n of Machinists & Aerospace Workers, AFL-CIO v. United

Techs . Corp . , Pratt & Whitney , 230 F . 3d 569, 576 (2d Cir. 2000).

Whether or not a contract is ambiguous is a threshold question

of law to be reviewed de novo. See , e . g . , Broder v . Cablevision

Sys . Corp. , 418 F . 3d 187, 197   (2d Cir. 2005); Walk-In Med. Ctrs.,

Inc . v. Breuer Capital Corp. , 818 F . 2d 260, 263    (2d Cir. 1987)

("The determination of whether a contract term is ambiguous is a

threshold question of law for the court."). A contract is

unambiguous when it has "' a definite and precise meaning,

unattended by danger of misconception in the purport of the

contract itself , and concerning which there is no reasonable

basis for a difference of opinion .' " Olin Corp. v. Am . Home

Assur . Co. , 704 F.3d 89 , 99 (2d Cir . 2012)   (citation omitted) ;

see Walk-In Med. Ctrs . , 818 F . 2d at 263 (stating that language

is ambiguous if it is "capable of more than one meaning when

viewed objectively by a reasonably intelligent person who has


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examined the context of the entire integrated agreement and who

is cognizant of the customs, practices, usages and termin o logy

as generall y understood in the particular trade or business").



     The Arbitrat o r's conclusion that the CBA was "not without

some ambiguity" was proper. Reasonable bases e x ist to believe,

from the language of the CBA's provision alone, that the CBU

could be either shifts or wages. The Fund's argument that

"shifts" avoids surplusage because Section 13-I.1 has language

requiring payment "per shift for each shift" has merit. Also,           in

the same secti o n, the CBA caps the number of payroll week shifts

at fi v e shifts. See CBA § 13-I.1. It is valid t o wonder why that

language be there if the CBA meant an y thing other than "shifts."

However, the Times' arguments are not without their own weight.

Pa y ing " 8% o f each employee's pay rate per shift for each shift

wo rked" could be reasonabl y read to mean monetary contribution

rate of 8 % o f earnings or, in other words, the total payments

over the total shifts. Moreover, as the Times identifies, the

CBA requires 8% c o ntributions to the Fund for paid leave, which

amounts t o e mployees' unworked time that is quantified in days-

to implement a "shifts worked" approach requires a leap of




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interpretative logic that even the Arbitrator recognized.        5   See

CBA § 13-K. 3; Interim Op. 34   (emphasis added)    ("Once one

incorporates the notion that all time compensated .          . is

treated as a   'shift worked,' any ambiguity in §13-I.l is

resolved."). Accordingly, the Arbitrator's consideration of



5      In its submissions, the Times repeatedly cites to extrinsic
evidence, such as testimony given during the Arbitration
regarding contribution practices, even while arguing that de
novo review is appropriate. The Times contends that such
evidence is appropriate even while simultaneously stating that
this is a question of law because "applicable labor-management
relations law" obligations can arise from under ERISA law from
"past practices." See Times Mem. 14 (quoting, in part, 29 U.S.C.
§ 139 2 (a) (2)). This argument fails. To be sure, in addition to
CBAs, employer obligations to contribute to plans can arise from
"a duty under applicable labor-management relations law." 29
U.S.C. § 1392(a). However, the Supreme Court has clarified that
that avenue of obligation refers to "any obligation imposed by
the [National Lab or Relations Act of 1935] ." Laborers Health &
Welfare Tr. Fund For N. California v. Advanced Lightweight
Concrete Co., 484 U.S. 539, 546 & n.11 (1988) (citing 29 U.S.C.
§ 1392(a)). No such obligation has been put forth as relevant to
the instant dispute. The Times' citation to Bozetarnik v.
Mahland, 195 F.3d 77, 82 (2d Cir. 1999), does not persuade that
past practices amount to an ERISA-imposed duty. In Bozetarnik,
the court rejected that certain alleged past practices could
amount to implied terms of a CBA, particularly because that CBA
con tained an integration clause; nowhere did the court discuss
past practices as creating duties arising under labor law. See
id. at 82-83. Accordingly , any determination of the CBA's
ambiguity requires l ooking only to the language of the CBA. See
Aeronautical Indus., 230 F.3d at 576 (citing United Mine Workers
v . LTV Steel Co. (In re Chateaugay Corp.), 891 F.2d 1034, 1038
 ( 2d Cir. 198 9) ) ( "Only when provisions are ambiguous may courts
look to extrinsic factors-such as bargaining history, past
practices, and other provisions in the CBA-to interpret the
language in question.")

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extrinsic evidence to resolve what is an ambiguous contract was

proper. See Aeronautical Indus., 230 F.3d at 576-77        ("[W]e

believe that extrinsic factors are relevant to determining the

precise nature of the Company's duties .        . because the

contested contractual language is not unambiguous on its

face.").



     The Arbitrator's factual finding that that CBA's CBU are

shifts is presumptively correct except by a rebuttal showing of

the clear preponderance of the evidence. See 29 U.S.C.

§ 140l(c). Under such a standard, the Arbitrator's finding must

remain undisturbed.



     As the Interim Opinion demonstrates, the Arbitrator

considered a wide range of presented extrinsic evidence. He

considered the Fund's Pension Plan, which detailed the Fund's

operations and described employee compensation from contributing

employers in terms of "credited service shifts." Interim Op. 34.

After hearing days of witnesses, detailed above, the Arbitrator

highlighted the testimony of Egan and Lewis, both of whom

testified that "the y always understood the CBU to be shifts," as

credible. Interim Op. 36; see id. 37     ("[T]heir actions over the

years demonstrated the truthfulness of their assertions."). The


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Arbitrator noted that the Welfare Fund's contribution language,

which had "virtually identical language" to the Fund's CBA and

treated the contribution rate as shifts, supported the

conclusion that shifts was the CBU. Interim Op. 36.



     In reaching his conclusion, the Arbitrator considered the

evidence put forward by the Times, and which are similar to the

arguments raised by it on the instant motion. See Times' Mem.

18-20. Such facts included: that the Times' payroll software was

set up to combine different shift-based pays into a single

amount, entitled "Base MTD [Month to Date]," which was then

multiplied by 8 % to get the pension contributions; the fact that

the Times made pension contributions for the differentials paid

for shifts of employees entitled to higher pay, like forklift

operators; and that the Times consistently reported to the Segal

actuaries that the Times was using wages as its contribution

rate. See Interim Op. 34-35, 37.



     The Times' position is not meritless, and evidence adduced

supports the contention that many employees at the Times who

interacted with the Fund believed that the CBUs were wages.

Assuredly, there was confusion between the parties. However, a

contract can only mean one thing, and the "determination as to


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which of competing inferences to draw" between compelling

evidence "lies within the province of the trier of fact." In

Time Prods., Ltd. v. Toy Biz, Inc., 38 F.3d 660, 665 (2d Cir.

1994)    (citations omitted) . By statute, that trier was the

Arbitrator. Particularly in the face of the weight given by the

Arbitrator to the testimonies of Egan and Lewis, the Times'

evidentiary showing today has not established by a clear

preponderance of the evidence that the Arbitrator was incorrect

in concluding that the terms of the CBA set the applicable CBUs

as wages. See, e.g., Faiveley Transp. Malmo AB v . Wabtec Corp .,

559 F.3d 110, 11 8 (2d Cir. 2009)         ("Assessments of the

credibi lit y of witnesses are peculiarly within the province of

the trier of fact and are entitled to considerable deference.").



        Accordingly, the Arbitrator's factual finding is afforded

deference, and his conclusion that the CBA 's CBU is shifts is

upheld. See Sigmund Cohn Corp. v. Dist. No. 15 Machinists

Pension Fund by its Bd. of Trs., 804 F. Supp. 490, 493 (E .D.N. Y.

1992)    (citing Chi. Truck Drivers Pension Fund v. Louis Zahn Drug

Co., 890 F.2d 1405, 1406 (7th Cir. 1989))          ("Courts reviewing

arbitration awards have consistently upheld the arbitrator's




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factual findings under [ERISA] section 4221(c)'s [29 U.S.C.

§ 1401(c)]   'presumption of correctness.'") . 6



     b. The Arbitrator's Approval of the Segal Blend is Reversed



     The second issue presented is whether the Fund's actuary,

Egan, after concluding that the Times had partially withdrawn

from the Fund, used the appropriate discount rate in calculating

the Times' withdrawal liability. Specifically, Egan used a

discount rate of 6.5 %, known in the industry as the Segal Blend,

which was calculated by blending the Fund's investment-return

rate of 7.5 % with lower, risk-free rates published by the PBGC.

Interim Op. 25. This rate was different than what the Fund used

when calculating the Times' minimum funding requirements. As

such, the parties dispute whether the asymmetrical application

of the Segal Blend was legally permissible.



     The Times contends that the Fund's actuary's use of the

Segal Blend violated both ERISA and Supreme Court precedent.

First, the Times argues that the rate the Fund used for


6    As the Arbitrator's decision that the CBUs were shifts is
upheld, the Fund's argument that, even were the CBUs to be found
as wages, that the Times still incurred liability because it
attempted to "evade or avoid" withdrawal liability pursuant to
29 U.S.C. § 1392(c), need not be reached. See Fund's Mem. 24-27.
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calculating minimum funding requirements, 7.5 %, needed to be the

same that was used for any withdrawal liability calculations. In

support, the Times identifies identical language in ERISA

between the minimum funding rules and withdrawal liability

calculations, both of which require an actuary to use rates that

are "reasonable (taking into account the experience of the plan

and reasonable expectations)" and which, "in combination, offer

the actuary's best estimate of anticipated experience under the

plan." 29 U.S.C.        §       1084(c) (3) (A)-(B)   (detailing permissible

actuarial assumptions for minimum funding for multiemployer

plans); 29 U.S.C.           §    1393 (a) (1)   (detailing permissible actuarial

assumptions for withdrawal liability); see Times Mem. 24-25. 7


7
     Section 1084 (c) (3), which addresses actuarial assumption
requirements for minimum funding as to ERISA plans, requires:
       For purposes of this section, all costs, liabilities,
       rates of interest, and other factors under the plan
       shall   be   determined   on  the  basis  of  actuarial
       assumptions    and   methods-(A)  each   of  which   is
       reasonable (taking into account the experience of the
       plan and reasonable expectations), and (B) which, in
       combination,   offer the actuary's best estimate of
       anticipated experience under the plan.
29   u.s.c.   §   1084 (c) (3).
     Section 1393(a), which addresses actuarial assumption
requirements for withdrawal liability as to ERISA plans,
requires:
       The corporation may prescribe by regulation actuarial
       assumptions which may be used by a plan actuary in
       determining the unfunded vested benefits of a plan for
       purposes   of  determining    an employer's withdrawal
       liability under this part. Withdrawal liability under
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Congress' use of identical language, the Times contends, meant

that the same assumptions-and, therefore, the same rates-were to

be used in both cases.    In addition, the Times points to the

Supreme Court's decision in Concrete Pipe & Prods. of Cal.,         Inc.

v. Constr. Laborers Pension Tr. for S. Cal.,       508 U.S.   602

(1993), which discussed "the necessity" of a Fund actuary to

apply "the same assumptions and methods in more than one

context," particularly highlighting a fund's interest rate

assumption.   Id. at 632; see id. at 633    ("[T]he calculation of

withdrawal liability is        . arguably the most important

assumption" and "is the critical interest rate assumption that

must be used for other purposes as well."); Times Mem. 25-27.

Based on those statements, the Times avers that Egan's use of

the Segal Blend solely for the purpose of calculating withdrawal

liability was wrong. Lastly, the Times argues that the Segal

Blend's estimation were not the best estimate of the anticipated

experience of the Fund, because a blend of risk-free rates does


     this part shall be determined by each plan on the
     basis of- ( 1) actuarial assumptions and methods which,
     in the aggregate, are reasonable (taking into account
     the    experience      of   the    plan    and  reasonable
     expectations)    and which,    in combination, offer the
     actuary's    best   estimate   of   anticipated experience
     under the plan,       or  (2)   actuarial assumptions and
     methods set forth in the corporation's regulations for
     purposes    of   determining    an   employer's withdrawal
     liability.
29 U.S.C. § 1393(a)

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not represent the Fund's actual investment portfolio. See Times

Mem. 28 -3 0 .



      The Fund counters that Egan's use of the Segal Blend was

proper.   In response to the Times' statutory arguments,       the Fund

notes that while ERISA language identified by the Times is the

same between the two provisions, the minimum funding provision

requires actuarial assumptions only to be "reasonable," 19

U.S.C. § 1084(c) (3) , while withdrawal liability provisions

require the assumptions be reasonable "in the aggregate," 29

U.S.C. § 1393(a) (1); see Fund's Mem. 28 . Moreover, the minimum

funding and withdrawal liability sections each require an

actuary to take into account "reasonable expectations" and

"anticipated expectations." Compare 29 U.S.C. § 1393(a) (1), with

id. § 1084(c) (3). If Congress had intended the same assumptions

to be used for contributions as with withdrawals , posits the

Fund, Congress could and would have included a cross-reference,

like in other sections. See Fund's Mem. 29. To the Fund, ERISA's

expectation language demonstrates that, as withdrawal liability

calculations are made after an employer has withdrawn from a

fund and face no further risk connected to that fund's

performance,     it is reasonable and proper for an actuary to set a




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lower return rate based on a finding of lower risk.      8   See Fund's

Mem. 27-30. Second, the Fund avers that Concrete Pipe does not

foreclose this reading, noting that the Court only went so far

as to state that "[u]sing different assumptions [for different

purposes] could very well be attacked as presumptively

unreasonable both in arbitration and on judicial review," which

is not the same as explicitly forbidding different rates.

Concrete Pipe, 508 U.S. at 633 (second alteration in original)

(citation omitted).



     In his Interim Opinion, as noted above, the Arbitrator

sided with the Fund in concluding that Egan's use of the Segal

Blend was legally acceptable. See Interim Op. 54-59. The

Arbitrator acknowledged that the Times'     reading of Concrete Pipe

was not "implausible," but that the Supreme Court's language was

also "not a definitive rejection .       . of using different

assumptions for different purposes." Interim Op. 55. Rather, the

Concrete Pipe Court "was leaving open the possibility an actuary



8    Should a fund fail to meet it investment return assumption-
for example, in the case of the Fund, a return of 7.5 %-
contributing employers are required to make up the shortfall.
See Reply Mem. of Law in Further Supp. of the Fund's Mot. for
Summ. J. ("Fund's Reply") 13, No. 17 Civ. 6178, 0kt. No. 29;
Combined Reply Mem. in Supp. of the Times' Mot. for Summ. J. and
Opp. to Cross-Mot. for Summ. J. ("Times' Opp.") 11, No. 17 Civ.
6178, 0kt. No. 30.
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could convincingly explain why it was appropriate and reasonable

to use different interest rate assumptions for different

purposes." Id. As to the Times' ERISA statutory language

arguments, the Arbitrator found that they were "not new" and had

not been accepted by other arbitrators or federal courts;

rather, the Arbitrator observed that "arbitration awards have

expressly held that the Segal Blend .        . if found by the

actuary to be the appropriate actuarial assumption, is

appropriate under§ 4312(a) ." Id. at 56-57. As such, the

Arbitrator upheld the use of the Segal Blend by the Fund,

concluding that "[i]f the dominant case law is going to be

reversed based on the Times' arguments, that action will not

come in an arbitration decision, but rather through court

review." Id. at 58.



     Before reviewing the Arbitrator's opinion, a more fulsome

review of Concrete Pipe is merited-or, as the opinion covers a

wider range of topics, at least as to the part of the opinion

implicated by the parties' dispute. Broadly-speaking, in

Concrete Pipe, an arbitrator determined that Concrete Pipe and

Products of California had incurred withdrawal liability because

it did not pay enough into a CBA-created employee pension plan

covered by ERISA. See Concrete Pipe, 508 U.S. at 614-15. On


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appeal, the Court affirmed the plan's assessment, concluding

that the statutory regime created by the MPPAA under which

employers made payments into pension funds did not create

procedural due process or takings violations under the Fifth

Amendment. See id. at 647.



     Part of the Court's opinion addressing procedural due

process is relevant to the present issue. One of Concrete Pipe's

arguments was that the MPPAA created opportunities for trustee

bias to influence the amount employers had to pay in withdrawal

liability: because the MPPAA allowed determinations of a plan's

trustees to be made without a hearing, and because those

conclusions were then insulated by the MPPAA's presumptions of

correctness on appeal before an arbitrator, the statute deprived

employers the opportunity for a fair adjudication. See id. at

620. After concluding that the MPPAA needed to be read to permit

employers to challenge factual determinations before an

arbitrator by a preponderance of the evidence, the Court applied

its determined presumption to factual issues raised by Concrete

Pipe in its challenge. See id. at 630-32. One such issue was the

amount of withdrawal liability assessed by the plan.




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     The Court concluded that a fund's calculation of withdrawal

liability differed from other facts found by a fund.       In part,

the Court found this because withdrawal liability is calculated

by an actuary, who is "not .      . vulnerable to suggestions of

bias or its appearance" because "actuaries are trained

professionals subject to regulatory standards." Id. at 632. In

addition to external professional standards, the Court

highlighted common language in ERISA regarding actuarial

assumptions between two different contexts: withdrawal liability

and minimum funding. Similar language itself created checks on

the ability of a plan to be biased because:

     The use of the same language to describe the actuarial
     assumptions and methods to be used in these different
     contexts          check [ s] the actuary's discretion in
     each   of  them.   Using     different assumptions   [ for
     different purposes] could very well be attacked as
     presumptively unreasonable both in arbitration and on
     judicial review.               For example, the use of
     assumptions ( such as low interest rates) that would
     tend to increase the fund's unfunded vested liability
     for withdrawal liability purposes would also make it
     more difficult for the plan to meet the minimum
     funding requirements.

Id. at 632-33   (alteration in original)   (internal quotation marks

and citation omitted). Moreover, the Court did not find "any

method or assumption unique to the calculation of withdrawal

liability        so manipulable as to create a significant

opportunity for bias to operate, and arguably the most important

assumption .    . is the critical interest rate assumption that

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must be used for other purposes as well." Id. at 633. Before an

arbitrator, an employer would need to rebut an actuary's

conclusions by a preponderance that "the combination of methods

and assumptions employed in the calculation would not have been

acceptable to a reasonable actuary." Id. at 635. That

presumption, however, did not support a procedural due process

objection.   Id.



     Insofar as the Times wishes to argue that use of different

interest rates in different contexts is always impermissible as

a matter of law, that argument fails.     Both the ERISA provisions

and the language of Concrete Pipe discussed above indicate

otherwise.



     The ERISA provisions addressing actuarial assumptions as to

minimum funding versus withdrawal liability, while similar, are

meaningfully different. Specifically, the inclusion of the

clause "in the aggregate" is an addition that cannot be ignored.

29 U.S.C. § 1393(a) (1). That clause's distinct inclusion in the

withdrawal liability section, suggests that Congress envisioned

the possibility that calculating withdrawal liability could

combine many different assumptions and methods to result in

something different than that found for the contribution


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requirements. See Bates v. United States, 522 U.S. 23, 29-30

( 19 97)    ( citation omitted, alteration in original)      ("' [W] here

Congress includes particular language in one section of a

statute but omits it in another section of the same Act, it is

generally presumed that Congress acts intentionally and

purposely in the disparate inclusion or exclusion."). That said,

the overall similarity of language should not be ignored, and

suggests that Congress expected that the rates used in the

different situations would be, at minimum, similar, if not the

same. See Smith v. City of Jackson, Miss.,           544 U.S. 228, 233

(2005)      (plurality opinion)    ("[W]hen Congress uses the same

language in two statutes having similar purposes, particularly

when one is enacted shortly after the other, it is appropriate

to presume that Congress intended that text to have the same

meaning in both statutes.").



      The conclusion reached from Concrete Pipe is the following.

Actuarial bias against withdrawing employers was guarded against

because there is no "significant opportunity for bias to

operate" when "the most important assumption                . is the

critical interest rate assumption that must be used for other

purposes as well." Concrete Pipe, 508 U. S. at 632-33. In the

same breath, however, the Court stated that the "assumptions


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used by [a] Plan in its other calculations may be supplemented

by several actuarial assumptions unique to withdrawal

liability." Id. at 633 (emphasis added, internal quotation marks

omitted). The expectation is that a standard, uniform interest

rate is applied in all contexts, and any deviation "could very

well be attacked as presumptively unreasonable both in

arbitration and on judicial review." Id. at 633 (citation

omitted). That does not mean, however, that deviation is, at all

times, impermissible by law-were that the case, the Court would

not have included the open-ended "could very well be" language

rather than something more definitive. While few courts have

delved into the murky mists of these particular ERISA

provisions, this Court is not the first to read Concrete Pipe in

this way. See Chi. Truck Drivers, Helpers & Warehouse Workers

Union (Indep.)   Pension Fund v. CPC Logistics, Inc., 698 F.3d

346, 355 (7th Cir. 2012)    (Posner, J.)   (discussing Concrete Pipe

and observing that "the Court [in Concrete Pipe] had indicated

that 'supplemental' assumptions that might cause the rates to

diverge were permissible").



     However, simply because the use of the Segal Blend uniquely

in the conte x t of calculating an employer's withdrawal liability

is not prohibited as a matter of law does not mean that its


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application in the present context was proper. Rather, to the

extent that the Times contends that the use of the Segal Blend

in this instance violated ERISA law, that claim is merited.



       The Arbitrator's decision that the Segal Blend's use was

reasonable in the aggregate is a mixed question of fact and law

and is reviewed for clear error. See 666 Drug,            Inc., 2013 WL

4042614, at *5 (collecting cases); accord Plan Bd. of Sunkist

Ret.   Plan v. Harding & Leggett,    Inc.,       463 F. App'x 702,   703   (9th

Cir. 2011)    (reviewing district court's review of withdrawal

liability interest rate assumption for clear error).



       As detailed above, ERISA requires that when determining an

employer's withdrawal liability, "actuarial assumptions and

methods" must, "in the aggregate,         [be]   reasonable   (taking into

account the experience of the plan and reasonable expectations)

and which, in combination, offer the actuary's best estimate of

anticipated experience under the plan." 29 U.S.C. § 1393(a) (1)

(emphasis added). Egan's testimony before the Arbitrator was

that a 7.5 % percent assumption was her "best estimate of how the

Pension Fund's assets .       . will on average perform over the

long term." Arb. Tr. 568:3-8; see Arb. Tr.            600:3-15   (observing

that the Segal Blend was "lower" than Egan's best estimate of


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anticipated plan experience in the long term).          If 7.5 % was the

Fund actuary's "best estimate," it strains reason to see how the

Segal Blend, a 6.5 % rate derived by blending that 7.5 % "best

estimate" assumption with lower, no-risk PBGC bond rates, can be

accepted as the anticipated plan experience. This is especially

when the blend includes interest rates for assets not included

in the Fund's portfolio. The Segal Blend's applicability is

further undermined by Egan's acknowledgment that she had used

the Segal Blend as her "best estimate" when calculating withdraw

liability "regardless of the particular pension plan's actual

portfolio of assets." Arb. Tr. 585:10-586:5.



        In defense of the Segal Blend, the Fund argues that there

is less risk facing employers like the Times who withdraw

because the liability of those employers becomes fixed;           if the

Fund underperforms, the withdrawer is not required to pay more,

unlike an employer still part of the Fund's plan. See Fund Mem.

28-29. Because of this background, the Fund notes, not only did

Egan, but also the Fund's actuarial expert, Kra,          testified that

the Segal Blend was,     in the aggregate, reasonable. See Fund Mem.

33-34    (citing Arb. Tr.   695:12-16). On the other hand, the

Times's rejoinder that a withdrawing employer also does not

share in any over-performance by the Fund, which would reduce


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future contribution obligations, effectively nullifies the

Fund's argument. See Times' Opp. 11. Accordingly, the inquiry

returns to what the statute states it requires for an applicable

return rate: what is the best estimate of the "anticipated

experience" under the plan." 29 U.S.C. § 1393(a) (1).



     The Arbitrator's Interim Opinion did not actively engage

with the issue of whether the Segal Blend's rate was a

reasonable best estimate. Rather, after concluding that the

Segal Blend was not foreclosed as a matter of law, he found that

there was "no evidence to suggest that the decision to use the

Segal Blend was part of a scheme to take advantage of the Times"

and accepted that, because Egan had been using the "Segal Blend

when calculating withdrawal liability the entire time," the

Times could not claim the Segal Blend's caused it to be

"unfairly penalized." Interim Op. 58-59.    9   That reasoning does not

support a finding that the Segal Blend's rate was the "best

estimate" of the plan's "anticipated experience." A lack of

duplicit y does n o t, b y itself, equate with a correct answer.




9    Earlier in the Interim Opinion, the Arbitrator did outline
Egan, Kra, and French's testimony as to the Segal Blend, though
without opining on the merits of the rate. See Interim Op. 31-
33.

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     In sum, the actuary's testimony, combined with the

untethered composition of the Segal Blend and paucity of

analysis by the Arbitrator, create "a definite and firm

conviction that a mistake has been made" in accepting the Segal

Blend; as such, this Court will "set the findings aside even

though there is evidence supporting them that, by itself, would

be considered substantial." Wu Lin v. Lynch,      813 F.3d 122, 128

(2d Cir. 2016)   (quoting 9C Charles Alan Wright & Arthur R.

Miller, Federal Practice and Procedure§ 2585 (3d ed. 2007)) .

Accordingly, the Arbitrator 's decision that the Segal Blend was

the appropriate rate to calculate the Times' partial withdrawal

is reversed.   In the absence of additional evidence sufficient to

support a different rate, the Times' liability should be

recalculated using the 7.5 % assumption testified to as the "best

estimate."



     c. The Arbitrator's Reversal of the Fund's Calculations of
        the 2013 Partial Withdrawal is Affirmed


     The third issue presented is which method for calculating

successive partial liability withdrawal is appropriate. As found

above, the Times incurred withdrawal liability for both plan

years ending May 31, 2012 and May 31, 2013. Under ERISA, to

"protect a withdrawing employer from being charged twice for the


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same unfunded vested benefits" when charged over multip l e years,

29 C . F . R. § 4206.l(a), a credit mechanism computation was

statutorily created to reduce a withdrawing employer's

withdrawal liability by any liability incurred the previous

year. See 29 U. S.C . § 1386; see generally 29 C.F.R. § 4206 . 1 ,           et

seq. The parties do not dispute that Section 1386 is the

relevant statute, but rather how to read and apply its

computational directi v es to calculate the Times'            2013 partial

withdrawal liability-or,     in other words,        an order of operations

problem in the form of statutory interpretation.



     29 U.S . C . § 1386, or ERISA Section 4206,         is the portion

relevant here , and describes with ERISA ' s typical simplicity how

to calculate partial withdrawal liability . Because of its

significance to the instant issue , the relevant portion of

Section 1386 is presented here:

     (a)   The amount of an employer's liability for      a
     partial withdrawal, before the application of sections
     1399 (c) (1) and 1405 of this title, is equa l to the
     product of-

          ( 1) the amount determined under section 1391 of
          this title , and adjusted under section 1389 of
          this title if appropriate, determined as if the
          employer  had   withdrawn from  the   plan in  a
          complete withdrawal-

                (A)   on   the   date    of   the   partial   withdrawal ,
                or


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                   (B)  in the case of a partial withdrawal
                   described  in   section   138 5 (a) ( 1) of  this
                   title (relating to 70-percent contribution
                   decline), on the last day of the first plan
                   year   in   the    3-year     testing     period,
                   multiplied by

            (2) a fraction which is 1 minus a fraction-

                   (A) the numerator of which is the employer's
                   contribution base units for the plan year
                   following the plan year in which the partial
                   withdrawal occurs, and

                   (B) the denominator of which is the average
                   of the employer's contribution base units
                   for-

                         ( i) except as provided in clause (ii) ,
                        the 5 plan years immediately preceding
                        the plan year in which the partial
                        withdrawal occurs, or

                        (ii)   in   the   case   of    a partial
                        withdrawal     described    in   section
                        1385(a) (1) of this title (relating to
                        70-percent contribution decline), the 5
                        plan years immediately preceding the
                        beginning of the 3-year testing period.

     (b)
             ( 1) In  the  case   of  an  employer  that  has
            withdrawal liability for a partial withdrawal
            from a plan, any withdrawal liabilit y of that
            employer for a partial or complete withdrawal
            from that plan in a subsequent plan year shall be
            reduced by the amount of any partial withdrawal
            liability (reduced by any abatement or reduction
            of such liability) of the employer with respect
            to the plan for a previous plan year.


29 U.S.C.   §   1386(a)-(b) (1).




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     The Fund contends that the proper computational procedure

was the way it initially calculated the Times' 2013 liability,

which is as follows.   First, the Fund calculated the Times'

allocable share of the UVBs under 29 U.S.C. § 1386(a) (1),       then

subtracted from that number the statutory credit of the amount

of the Times' partial withdrawal liability the previous year

under 29 U.S.C. § 13 86(b), and then multiplied that difference

by a fraction which represents the decline of the partial

withdrawal, described in 29 U.S.C.     §   1386(a) (2) . See Fund's Mem.

35-36; Second Assessment at 27. The Fund argues that the

statute's language is unambiguous. Under Section 1386, the first

element of the equation is "the amount determined under section

1391 of this title [ERISA Section 4211], and adjusted under

section 1389 of this title [ERISA Section 4209]       if appropriate,

determined as if the employer had withdrawn from the plan in a

complete withdrawal." 29 U.S.C. § 1386(a) (1). As Sections 1391

and 1389 apply whether there is a full or partial withdrawal,

the Fund argues, the only way not to render the "determined as

if the employer had withdrawn from the plan in a complete

withdrawal" directive superfluous requires applying Section

1386(b) (1) as part of Section 1386(a) (1), which requires that

any employer "for a partial or complete withdrawal from that

plan in a subsequent plan year         . be reduced by the amount of


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any partial withdrawal liability." Id.       §   1386 (b) (1); see Fund's

Mem. 36. Because the ERISA provision is unambiguous,          the Fund

states, any extrinsic evidence, such as PBGC documents put

forward by the Times and described below, are irrelevant . See

Fund's Mem. 36 - 38.



     By contrast, the Times argues that the partial withdrawal

ca l cu lati on should go as follows.   First, the employer's

allocable share of the plan's UVBs is calculated as if it had

been a complete withdrawa l, pursuant to 29 U.S.C. § 1386(a) (1) .

That figure is then multiplied by the aforementioned partial

withdrawal fraction laid out in 29 U.S.C.        §   1386(a) (2). Then,

that product is reduced by any partial liability from the

previous plan year , pursuant to 29 U.S.C. § 13 86(b) (1). See

Times' Mem. 31. The Times supports this computational

interpretation in three ways. Similarly pointing to the statute,

the Times observes that Section 1386(a) first states how to

calculate "an emp l oyer 's liability for a partial withdrawal,"

and then,   logically, Section 1386(b) states that an employer's

"withdrawal liability for a partial withdrawal " is reduced by

credit for the prior partial withdraw~l. See Times' Mem. 32.

Second, the Times identifies an Opinion Letter by the PBGC which

states that the "plain language [of] Section 4206(a) precludes


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the prior use of Section 4206(b) (1)      in this adjustment process"

in the manner set-out by the Fund and that calculations as

argued by the Fund are "clearly erroneous." PBGC Op. Letter 85-4

(Jan . 30, 1985); see Times' Mem. 33 . Lastly, the Times contends

that the Fund 's mathematical proscription causes the Times to

incur additional liability on subsequent partial withdrawals,

even if nothing changes between the initial and successive

partial withdrawals, which defeats the purpose of Congress

granting the credit at all. See Times' Mem. 33.



      The Arbitrator concluded , as a matter of law, that the

Times' partial withdrawal liability adjustment calculations were

correct. See Interim Op. 59-60. Without opining on what legal

weight to apply to the PBGC Opinion Letter, the Arbitrator found

the Opinion Letter to present a "more faithful reading and

application of§ 4206." Id. Calling the Fund's statutory reading

"convoluted," the Arbitrator concluded there was :

      [N]o cogent reason to believe Congress intended that a
      fund is supposed to start the calculation following
      § 4206 (a) (1),    then   skip    the   step   set   forth    in
      § 4206 (a) (2)   and go to the subtraction of prior
      partial      withdrawal      liability     called     for     in
      § 4206(b)(l),      and   only   then   revert   back    to  the
      multiplier      of    the    partial    withdrawal     fraction
      described in§ 4206(a) (2).

Id.



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        Reviewing the Arbitrator's statutory inte rpretatio ns de

nova, his conclusion is affirmed. This "review necessarily

begins with the statutory text to determine whether the

language, viewed in context, unambiguously reveals Congress's

intent." United States v. Colasuonno, 697 F.3d 164, 173 (2d Cir.

2012)     (citing Robinson v. Shell Oil Co., 519 U.S. 337, 340

( 1997)) .



        Looking to the text of the statute itself, Section 1 386 is

laid out in a two-part fashion.        In subsection (a) , the "amount"

of an employer's partial withdrawal liability is determined in

Section 13 86(a) , which requires multiplying the UVBs in Section

1386(a) (1) by the contribution -base decline fraction of Section

13 8 6 (a) ( 2) . Next, in subsection (b) , the liabilit y determined in

Section 1386(a) is reduced by the amount of any partial

withdrawal liability from the previous plan year. Viewed this

way-in other words, in the order the statute was written-the

statutory calculations proceed in a logical, linear, and

unambiguous fashion. "To be sure, Congress might have expressed

itself more clearly , but           . this is the most natural reading

of the statute." Shepherd v . Goord,        662 F.3d 603 , 607   (2d Cir .

2011) .




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        The Fund's contention that any other reading but theirs

makes the "as if the employer had withdrawn from the plan in a

complete withdrawal" language superfluous is unavailing.          10


Rather, this clause clarifies that, even though the overall

section deals with partial withdrawal, the starting calculation

at Section 1386(a) (1) is arrived at no differently than in a

complete withdrawal. While perhaps overly cautious of ERISA's

drafters, this reading does not necessarily render the clause

superfluous. At minimum, the clause's inclusion does not warrant

the statutory hop-scotch the Fund would otherwise have actuaries

perform. See Krause v. Titleserv, Inc., 402 F.3d 119, 127-28               (2d

Cir. 2005)    (quoting Hohn v. United States, 524 U.S. 236, 249

(1998) and Lamie v. United States Tr., 540 U.S. 526, 536 (2004))

(second alteration in original)       ("[W]e are reluctant to endorse

an awkward reading of its words for no better reason than to

satisfy the canon of construction .            '[g]eneral principles of


1   °Curiously, the Fund argues in its briefing that the statute
is "unambiguous, as it is here because it has only one reading
that gives effect to all of the words." Fund's Mem. 37. However,
the preference of avoiding surplusage is itself a canon of
construction. See, e.g., Marx v. Gen. Revenue Corp., 568 U.S.
371, 386 (2013) (discussing the "canon against surplusage").
Courts are instructed to use canons of statutory construction to
help resolve any statutory ambiguity. Colasuonno, 697 F.3d at
173. By invoking an argument against surplusage, the Fund itself
acknowledges the possibility of ambiguity. In any event, as
described above, both the statutory text and extrinsic guidance
point in the same direction: the Times' position.
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statutory construction are notoriously unreliable' and 'should

not take precedence over more convincing reasons'" because the

"'preference for avoiding surplusage constructions is not

absolute. ' ") .



      Lastly, to whatever extent there were ambiguity as to

Section 1386, it is squarely resolved by the 1985 PBGC Opinion

Letter. The PBGC wrote the 1985 Opinion Letter after being

presented with the same question here. There, the PBGC concluded

the Times' reading "correct" and the Fund's reading "clearly

erroneous." PBGC Op. Letter 85-4          (Jan. 30, 1985). The PBGC's

opinion is instructive and a useful cross-check. See Beck v.

PACE Int'l Onion, 551 U.S. 96, 104          (2007)   (alteration in

original)       (quoting Mead Corp. v. Tilley, 490 U.S. 714, 722, 725-

2 6 (198 9) )   ( "We have traditionally deferred to the PBGC when

interpreting ERISA, for 'to attempt to answer these questions

without the views of the agencies responsible for enforcing

ERISA, would be to embar[k] upon a voyage without a compass.'");

Trs. of Local 138 Pension Tr. Fund,         692 F.3d at 134-35 ("The

PBGC, the agency charged with administering the withdrawal-

liability provisions under ERISA, is traditionally afforded

substantial deference in its reasonable interpretations of the

statute."); Marcella v. Capital Dist. Physicians' Health Plan,

Inc., 293 F.3d 42, 48      (2d Cir. 2002)     (citing Opinion Letters
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from the Department of Labor and observing that "[w]hatever

ambiguity there might be in ERISA on this point            . we are

supported in our conclusion by the .        . agency charged with

interpretation and enforcement of the statute").



     Accordingly, the Arbitrator's conc lusi on that the Second

Assessment was incorrectly calculated and order that the Fund's

calculations be redone was correct and is affirmed.



     d. The Arbitrator 's Approval of the Interest Rate the Fund
        Applied to the Times' Overpayment is Affirmed


     The fourth and last issue presented pertains to the amount

that the Fund needs to refund the Times for overpayments of

partial withdrawal liability payments. As found above, the Times

incurred partial withdrawal liability for plans ending May 31 ,

2012 , and May 31, 2013 , but the Fund incorrectly computed that

liability as to the Second Assessment, resulting in the Times

overpaying . As such, the Fund needed to repay the Times.

Vanquishing the question of repayments, however, created, like

the Lernaean Hydra, two new questions to resolve.



     The first question is whether interest needs to be included

when repaying overpaid withdrawal liability. Imperfect overlap


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between the directives of ERISA's statutory language and PBGC

regulations creates this problem. 29 U.S.C. § 1103(c) (1), ERISA

Section 403 (c) (1), requires that "the assets of a plan shall

never inure to the benefit of any employer and shall be held for

the exclusive purpose of providing benefits to participants in

the plan and their beneficiaries and defraying reasonable

expenses in administering the plan." 29 U.S.C. § 1103(c) (1).

ERISA's anti-inurement provision has certain exceptions,

however,   including: "In the case of a withdrawal liability

payment which has been determined to be an overpayment,        [the

anti-inurement rule]       shall not prohibit the return of such

payment to the employer within 6 months after the date of such

determination." Id.    §   1103 (c) (3). "The purpose of the anti-

inurement provision, in common with ERISA's other fiduciary

responsibility provisions, is to apply the law of trusts to

discourage abuses such as self-dealing, imprudent investment,

and misappropriation of plan assets, by employers and others."

Raymond B. Yates, M.D.,      P.C. Profit Sharing Plan v. Hendon,      541

U.S. 1, 23   (2004). At the same time,    PBGC regulation provides

that: "If the plan sponsor or an arbitrator determines that

payments made in accordance with the schedule of payments

established by the plan sponsor have resulted in an overpayment

of withdrawal liability, the plan sponsor shall refund the


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overpayment, with interest, in a lump sum." 29 C . F . R

§ 4219 . 3l(d). The simultaneous existence of these provisions-one

expressly referencing the payment of interest and the other

conspicuously not- muddies the water .



     If interest is owed , the second question is what should be

the applicable rate . PBGC regulation proscribes that a fund must

"credit interest on the overpayment .             at the same rate as

the rate for overdue withdrawal liability payments , as

established under [29 C . F . R. ] § 4219 . 32 or by the plan pursuant

to [29 C . F.R . ] § 4219.33 . " 29 C. F.R . § 42 1 9.3l(d). The question

here , therefore, is whether the Fund authorized an interest rate

at a particular level or if the PBGC default interest rate under

Section 4219 . 32 is to apply .



     The Times avers that payment of interest is necessary

because of the PBGC ' s promulgations, which have been regularly

followed by federal courts and prevent a potentially

unconstitutional "interest-free loan" from an employer to a fund

by an biased fund trustees prior to any arbitral review . Times '

Mem. 35 (alteration in original)         (quoting Huber v . Casablanca

Indus ., Inc., 916 F.2d 85, 103 (3d Cir . 1990) , abrogated on

other grounds by Milwaukee Brewery Workers'         Pension Plan v.


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Joseph Schlitz Brewing Co., 513 U.S. 414, 431 (1995)        (holding

that the "MPPAA calculates its installment schedule on the

assumption that interest begins accruing on the first day of the

year following withdrawal")). In addition, the Times contends

that the PBGC regulation is not contrary to ERISA because the

overpaid sums are not plan assets and therefore not covered by

the anti-inurement provision. See id.



     As to the applicable rate, the Times argues for 18 %,

pointing to the Section 9.5(b) of the Fund's Trust Agreement,

which includes a provision entitled "Default in Payment" and

provides: "A delinquent Employer shall be liable for any

expenses incurred in effectuating such payment (including

interest at a rate of 18 percent per annum or such other

interest rate that the Trustees deem appropriate given the

circumstances)." Times' Mem. 36 (quoting Times' 56.1       ~   28); see

also Garfield Deel. Ex. 64    ("Trust Agreement") art. IX. Outside

of the Trust Agreement, the Times points to evidence it argues

demonstrates a practice by the Fund of using 18 %, including

several instances when the Fund either informed the Times that

payment delinquency incurred 18 % per annum interest or sought

that rate in litigation with other employers. See Times' Mem.

36; Times' Opp. 19-20.


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      In response, the Fund argues that it should not have to pay

any interest. Pointing to ERISA's language and relying on

Chevron, U.S.A., Inc. v. Nat. Res. Def. Council,        Inc.,   467 U.S.

837   (1984), the Fund contends that ERISA's language

unambiguously and "directly" speaks on the issue of interest on

overpayment returns, foreclosing the application of interest on

such returns and making the PBGC's regulation an impermissible

construction of ERISA entitled to no deference. Id. at 842 ; see

Fund's Mem. 38-39. The Fud also rejects the argument that the

overpayments are not an asset of the plan, stating that clear

ERISA provisions expressly carving out an exception for such

repayments foreclose that reading. See Fund's Reply 15-16.



      If it owes interest, the Fund argues the Arbitrator's

factual findings and determination of 3.5 % as the rate should be

affirmed. The Fund notes that nothing in the Fund's Trust

Agreement that expressly deals with withdrawal liabilit y

proscribes an interest rate, observing that Trust Agreement

Section 9 .10, which deals with withdrawal liabilit y , does not

mention interest rates, but that Section 9.4(a), which deals

with "the failure of any Employer to make Employer contributions

to the Trust Fund," expressly mentions Section 9 .S(b), the


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provision relied upon by the Times. Trust Agreement art. XI ; see

Fund's Reply 18. Furthermore, the Fund avers, the evidence

adduced in the arbitration demonstrated that, rather than a

regular practice of requiring 18 %, the Fund has used a variety

of rates over the years; to the extent an 18 % rate was used,           it

was either in error, such as with the Times, or as a matter of

ERISA statutory requirement necessitating 18 % for delinquent

contributions. See Fund's Mem. 40; Fund's Reply 19-20.



     The Arbitrator first determined that the PGBC regulation

did not violate ERISA's anti-inurement rule and, therefore, the

Fund needed to pay interest on any repayment to the Times for

overpaid withdrawal liability at the same rate a charged for

late payment of withdrawal liability. Interim Interest Op. 10;

Final Interest Op. 17. The Arbitrator's decision was "assumed"

and principally based on the Third Circuit's decision in Huber,

which upheld the PGBC rule regarding interest and whose

conclusions regarding the interplay between Section 4129.3l(d)

and the anti-inurement rule has never been overturned or

questioned by any other court. Final Interest Op. 17; see

Interim Interest Op. 10. Before deciding the applicable rate,

however, the Arbitrator permitted additional discovery on Fund

to see if the Fund had established a withdrawal liabilit y


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interest rate either by policy or practice. See Interim Interest

Op. 12-13.



     Following discovery, the Arbitrator ultimately concluded

that, in the absence of an established rate by the Fund, the set

PBGC rate of 3.25 % applied. Final Interest Op. 20-21. The

Arbitrator did not find that the Fund trustees had unanimously

adopted an express interest rate for late withdrawal fees,         as

the Arbitrator found required under the Fund's Trust Agreement

Section 6.4(a), based in part on an affidavit submitted by a co-

counsel to the Fund, even while noting that Fund Board meeting

minutes had indicated past discussion about, but no actual vote

on, such a policy. 11 See Interim Interest Op. 10; Final Interest

Op. 10, 18. The Arbitrator also rejected the Times' argument

that Section 9.5 was relevant to withdrawal liability payments,

finding that that provision was part of the Trust Agreement to

address employer contributions and, significantly, neither made

a specific reference to withdrawal liability nor included a

general statement as to "any payment" of an employer when

discussing interest rates. Interim Interest Op. 10-11. As to any


11   Fund Trust Agreement Section 6.4(a) provides: "All action
of the Board shall be taken by unanimous vote of the Trustees,
as hereinafter provided. When voting, the Employer Trustees, as
a unit, shall each have one vote. All action by the Board shall
be by unanimous vote of the two units." Trust Agreemen art. XI.
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established practice or policy, the Arbitrator reviewed

different instances of the Fund seeking interest on late

withdrawal liability and found that the Fund had, on differing

occasions, used a 0 % rate, 3.25 % rate, 5 % rate, and 18 % rate.

Final Interest Op. 6-9, 19-20. After reviewing the marshalled

evidence, the Arbitrator found that "the Fund has had a practice

of assessing interest on late payments of withdrawal liability

and contributions at a rate substantially below 18 % and very

close to the prevailing PBGC rate if payments were made for the

Fund to initiate litigation." Final Interest Op. 20.



     The first issue-whether interest is to be applied at all-

requires resolution of a purely legal question. Namely, what is

to be made of the PBGC's promulgated regulation interpreting

ERISA in the context of ERISA's anti-inurement provision? While

not binding, the Third Circuit's opinion in Huber is

informative, as the court there faced the same issue as

presented here. In Huber, the court determined that Congress had

intended to consider overpayment funds part of a plan's assets,

and that the absence of discussing interest in Section

1103(c) (1), when Congress had included interest in other ERISA

prov isions, indicated the statute itself barred interest. See

Huber,    916 F.2d at 101-02. However, as ERISA also required


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employers to pay assessed withdrawal liability upfront and only

later dispute the payments before a neutral arbitrator to

potentially recoup its monies-a "draconian interim payment

procedure"-not applying the PBGC regulation would permit, "in

effect[,] an interest free loan" to a fund.      Id. at 102. Striking

down the application of the anti-inurement clause with regard to

interest on overpayments of withdrawal liability was, to that

court, "the least intrusive means of adjusting the statute to

preserve its constitutionality." Id.



     The analysis in Huber and its outcome is adopted. While

philosophically brow-raising to construe an employer's

overpayments as part of the plan's assets, the language of

Section 1103(c) indicates that Congress intended overpayments to

be treated as such.   12   Had Congress not envisioned overpayments on

withdrawal liability to be part of the plan's assets, there

would have been no reason to have expressly included a carve-out



12   Put another way, if monies were assessed and charged to an
employer by a fund, but later found to be collected improperly,
it is curious to view those contested sum, under the law, as
already subsumed by monies in the fund whose "exclusive
purpose[ ]" is to benefit participants in the plan, as opposed
to still the property of the employer, or perhaps, even,
nobodies. 29 U.S.C. § 1103(c) (1). Of course, possession is nine-
tenths of the law. Regardless, the statute is clear on this
point and, naturally, controls, philosophical disagreements be
they as they may.

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for such sums. See 29 U.S.C. § 1103(c) (3). The anti-inurement

provision is therefore appropriately applied here.



     Unlike the Huber court's reading, however, it is not clear

that the absence of an explicit provision to provide interest in

the withdrawal liability section is so "telling" as to itself

bar such interest payments. Huber, 916 F.2d at 101 (citation

omitted). As the Times notes, the Supreme Court has "since 1933

      consistently acknowledged that a monetary award does not

fully compensate for an injury unless it includes an interest

component." Kansas v. Colorado, 533 U.S. 1, 10 (2001)

(collecting cases). This principle is as judicially established

as it intuitively proper. Given this backdrop, ERISA's statutory

language is best read as "silent" on the specific issue of

interest, at which p o int the "question for the court is whether

the agency's answer is based on a permissible construction of

the statute." Chevron, 467 U.S. at 843. The PBGC regulation,

which unobtrusively fills this statutory silence, is certainly

such a reas o nable construction.



     Whether ERISA is ambiguous, and the PBGC regulation is

applied, or is clear, and normally would not, in the present

instance, howe v er, is a distinction without a difference. The


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PBGC regulation must be applied because, were ERISA's statute to

be all there is, "the employer may deprived of (and the trustees

allowed) the use of a considerable sum for a substantial period

of time." Huber,   916 F.3d at 102. Such an arrangement only

avoids constitutional due process concerns "so long as an

employer has not been forced to overpay." Id.



     The Fund is wrong to claim that the concerns raised by the

Huber court-concerns regarding ensuring procedural safeguards

against self-interested fund trustees-were resolved by the

Supreme Court's decision in Concrete Pipe. As discussed above,

the Concrete Pipe Court discussed at length the ways in which

review by a neutral arbitrator would alleviate due process

concerns created by various statutory presumptions favoring a

fund's trustees. See supra at 39-41. However, sidestepping

constitutional concerns with regard to presumptions of

correctness does not address, and does not resolve, the risk of

statutorily permitting interest-free loans to funds at the

expense of employers. Review by a neutral arbitrator is not a

panacea: while certainly a check on the risk of potentially

abusive trustees, it nevertheless remains true that the "harm

caused by the biased decisionmaker is alleviated" only when an

improperly assessed payment is returned in a form that does not


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amount to an "interest-free loan." Huber,         916 F.2d at 103. This

is acutely true in a regime known amongst the courts as a "pay

now-fight later" system. See, e.g., Amalgamated Lithographers of

Am. v. Unz & Co. Inc.,       670 F. Supp. 2d 214, 222    (S.D.N.Y. 2009).

Procedural due process and fair adjudication require a balance

to exist where there is no incentive to manipulate ERISA's rules

and the system does not deprive a party of property without the

opportunity for complete compensation down the line. See id. at

102 (citing First English Evangelical Lutheran Church v. Cnty .

of L.A., 482 U.S. 304, 318-19 (1987))         ("[T]he difference between

permanent and temporary loss of the use of property is a matter

of degree, not of kind.").



     This Court is not the first to reach this conclusion, even

in the wake of Concrete Pipe-including, notably, the Third

Circuit. See Bd. of Trs. of Trucking Emps. of N. Jersey Welfare

Fund, Inc.-Pension Fund v . Kero Leasing Corp.,         377 F.3d 288 , 304

& n.18    (3d Cir . 2 004)   ("We are not persuaded that our conclusion

in Huber regarding payment of interest was dealt a fatal blow by

the Supreme Court's decision in Concrete Pipe."); accord Mary

Helen Coal Corp. v . Hudson, 235 F.3d 20 7, 214        (4th Cir. 2000)

(addressing Coal Act payment obligation claims, which the court

held were treated like "an obligation to pay withdrawal


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liabilit y under [Title IV of ERISA]," citing Huber approvingly,

and h o lding that "[g]iven the pay first,    dispute later

framework,   adopting the Trustees'     interpretation of the anti-

inurement clause would expose 'serious constitutional defects'

in the application of the provision"). Thirty years after Huber,

applying 29 C.F.R § 4219.31(d) as a patch that remains the

"least intrusive" way to resolve this ERISA issue. Huber,         916

F. 2 d at 10 2 . Accordingl y , the Fund owes the Times interest on

repayments of overpaid withdrawal liability.



     Given that the Times is owed interest on such overpa yments,

the rate o f int e rest needs to be determined. The Arbitrat o r

answered by concluding the applicable PBGC rate applied because

the Fund had not adopted a set policy, either by statute or

practice. See Final Interest Op. 18, 20; see also 29 C.F.R.

§ 4219.3l(d). That conclusion is upheld.



     First, the Arbitrator was correct when he construed that

the 18 % per annum interest rate established by Section 9. 5 of

the Trust Agreement, the section entitled "Default in Payment,"

applies only to late contributions by employers. See Interim

Interest Op. 8. The Arbitrator's conclusions with regard to the

Trust Agreement's provisi o ns looked solely at the c o ntract and,


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therefore, should be reviewed as a question of law. See Interim

Interest Op. 10-11.



     Trust Agreement Article Nine may be entitled "Payments to

the Fund," but that does not mean that every subsection

provision must necessarily bleed into the others. Trust

Agreement art.   IX. Looking at the agreement, Subsection 9.5(b)

is nestled between provisions that discuss what happens when an

employer fails to make a contribution to the Fund, see id.

§ 9.4, and permitted enforcement actions by the Fund when an

employer fails to make required contributions, see id. § 9.6;

directly above Section 9.5(b) is Section 9.5(a), which discusses

the Fund's Board's authority to take action to pursue collection

of employer contributions, see id. § 9.5(a). Discussion of

withdrawal liability is at the very end of the section and

focuses on the process for arbitrating disputes over withdrawal

liabilit y . See id. § 9.10. Section 9.10 does not discuss

interest rates or details about payments of any sort. See id.

Grafting the interest rate written in the context of and meant

to be applied to delinquent payments by employers onto a section

that discusses which offices of the AAA should hear cases and

under which state's laws those cases should be heard is not the




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    most "natural reading" of the Trust Agreement. Shepherd,        662

    F.3d at 607; see generally Trust Agreement art. IX.



          The Arbitrator's factual finding that the Fund had no

    policy or practice applying 18 % to overdue withdrawal liability

    payments is similarly upheld. Final Interest Op. 20-21. The

    Times points to instances, both as to itself and in prior

    litigations involving the Fund, where the Fund used 18 % as the

    applicable interest rate for withdrawal liability. 13 As described

    above, the arbitration's discovery also revealed, and the Fund

    presented to the Arbitrator, other instances when the Fund

    applied interest rates to delinquent withdrawal liability

    payment sat rates not 18 %, and which ranged from 0 % to 5%.

    Evidence from the Fund's Board meetings pulled in both

    directions: the Fund trustees indicated at one meeting that

    withdrawal liability interest rates should be the same as for


    13   The Times also contends that because the Fund argued in
    briefings for prior legal proceedings for an 18 % rate, the Fund
    is bound by that position under the doctrine of judicial
    estoppel. See Times' Mem. 38 (citing Bates v. Long Island R.
    Co., 997 F.2d 1028, 1037 (2d Cir. 1993)). The Fund's
    explanation-that those prior lawsuits required an 18 % interest
    rate pursuant to ERISA Section 4301(b), which provides that
    withdrawal liability be treated like delinquent contributions-
    sufficiently supports the position that the Fund's posture in
    those instances was different than here, where an interest rate
    needed to have been established by the Fund to be applicable but
    was not. See Fund's Reply 20.
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delinquent contributions, but also that the trustees chose not

to adopt a rule that explicitly relates to withdrawal liability.

Final Interest Op. 10-11.



     It is sufficient to observe that it has not been

established by a preponderance of the evidence that the

Arbitrator's finding was wrong. 14 For a plan to establish an

applicable withdrawal liability rate,     it needed to be pursuant

to 29 C.F.R. § 4219.33. See 29 C.F.R. § 4219.31(d). To accord

with that provision, any rule adopted by the Fund needed

generally to "operate and be applied uniformly with respect to

each employer." Id. § 4219.33. The Arbitrator did not find a

"consistently applied" rate, and the facts adduced at the

arbitration could reasonably support that finding.       Final

Interest Op. 20. While some evidence pulled in the opposite

direction, the possibility of a difference of opinion is not

enough to rebut the Arbitrator's conclusion. See Sigmund Cohn

Corp., 804 F. Supp. at 493; Mangan v. Owens Truckmen, Inc., 715

14   In other words, the Court need not determine whether it was
appropriate for the Arbitrator, after determining that there was
no formal adoption by the Fund of an interest rate for
withdrawal liability, to then proceed to look for a "de facto
policy" by the Fund. Final Interest Op. 19; see Interim Interest
Op. 11 (appearing to require the Fund to use the same rate
established at its practice for assessing interest on delinquent
withdrawal liability payments as for refunding overpayments as a
matter of equity).
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F. Supp. 436, 439 (E.D.N.Y. 1989)           (citation omitted)   ("Title 29

U.S.C.    §   1401 (c)   'represents a considered decision by Congress

that district courts not be authorized to second-guess

arbitrators' decisions.'"). Accordingly, the Arbitrator's

decision to apply the applicable PBGC rate of 3.25 % interest on

the refunded overpayments is affirmed.




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Conclusion



        For the foregoing reasons, the Times and Fund's cross-

motions for summary judgment are granted in part and denied in

part.



        Submit judgment on notice.



        It is so ordered .



New York, NY
March   U,2018




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